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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA
                                              Criminal Action No.:
      versus                                  1:18-CR-00309-LMM-LTW-1

CHALMER DETLING, II


           MOTION TO STRIKE SURPLUSAGE IN INDICTMENT

      COMES NOW the Defendant, CHALMER DETLING, II, by and through

undersigned counsel, pursuant to Rule 7(d) Federal Rules of Criminal Procedure,

and moves this Court to strike from the indictment allegations which are

immaterial, irrelevant, and, if submitted to the jury, would be unfairly prejudicial

to the Defendant. The irrelevant language's presence in the indictment, a

document that has been returned by the Grand Jury, and contains the signature of

the United States Attorney and of the Grand Jury foreperson, gives these irrelevant

and unfairly prejudicial allegations undue weight and the indicia of authority. As

such, they are due to be struck.

      "The inclusion of clearly unnecessary language in an indictment that could

serve only to inflame the jury, confuse the issues, and blur the elements necessary

for conviction under the separate counts involved surely can be prejudicial."

United States v. Bullock, 451 F.2d 884 (5th. Cir. 1971).
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      Mr. Detling respectfully requests that the following statements be struck

from the indictment in order to protect the defendant against immaterial or

irrelevant allegations in the indictment which may be prejudicial (Rule 7, Note to

Subdivision (d)):

      “On or about October 31, 2016, the Supreme Court of Georgia accepted

DETLING’s petition for voluntary surrender of his law license, which the Supreme

Court of Georgia described as ‘tantamount to disbarment.’ DETLING is currently

not licensed to practice law in the State of Georgia.”

      WHEREFORE, Mr. Detling respectfully requests that the Court grant his

motion to strike surplusage in the indictment.

      Dated:        This 30th day of October, 2018.

                                       Respectfully Submitted,

                                       /s/ Molly Hiland Parmer
                                       MOLLY HILAND PARMER
                                       GEORGIA BAR NO. 942501
                                       ATTORNEY FOR MR. DETLING




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                              CERTIFICATE OF SERVICE

      I hereby certify that the foregoing has been formatted in Book Antiqua 13

pt., in accordance with Local Rule 5.1B, and was filed this day with the Clerk of

Court electronically using the CM/ECF system which will automatically sent

email notification of such filing to counsel of record:

                          Alex R. Sistla and John Ghose
                          Assistant United States Attorneys
                          Suite 600, Richard B. Russell Building
                          75 Ted Turner Drive, S.W.
                          Atlanta, Georgia 30303

      Dated: This 30th day of October, 2018.

                                       /s/ Molly Hiland Parmer
                                       MOLLY HILAND PARMER
                                       GEORGIA BAR NO. 942501
                                       ATTORNEY FOR MR. DETLING

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